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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



Maciej Lipski
       Plaintiff
                                                          CIVIL ACTION
               V.
                                                          NO. 1:15-cv-13102-MBB
Healthbridge Management LLC, et.al.
      Defendants


                                  ORDER OF REMAND



BOWLER, M. J.


       Pursuant to the allowance of Plaintiff’s Motion to Remand on March 8, 2016, this case is

hereby remanded to the Middlesex Superior Court.

                                                   SO ORDERED.



                                                   By the Court,

March 30, 2016                                     /s/ Brendan Garvin

       Date                                        Deputy Clerk
